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                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

 LATREECE JONES, individually,
 and on behalf of all others similarly
 situated,
                                                          Case No: 1:21-cv-003217
                      Plaintiff,
 v.                                                       Honorable Martha M. Pacold

 NATIONSTAR MORTGAGE LLC
 d/b/a MR. COOPER GROUP

                      Defendant.

                             JOINT STATUS REPORT

        Plaintiff LaTreece Jones (“Plaintiff”) and Defendant Nationstar Mortgage,

LLC (“Defendant”) (collectively, the “Parties”), by and through their undersigned

counsel, submit this Joint Status Report pursuant to the Court’s order. In support of

this Joint Status Report, the Parties state as follows:

        On April 22, 2022, the Court granted the Parties’ joint motion to extend the

stay in this action, pending global mediation of several class actions, until July 15,

2022, at which time the Court ordered the Parties to submit a joint status report to

the Court. (See ECF Doc. 43).

        At this point, the parties have reached a settlement in principle and agreed to

all material terms in the documents, and they are in the process of getting the

documents signed by the parties, which has taken more time than anticipated. One
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of the settling parties, ACI Worldwide Corp., has a small issue with the anticipated

release language, and the parties are working cooperatively to resolve this issue by

Wednesday, July 20, 2022. Once that issue is resolved, the parties expect to sign all

documents regarding the settlement within a day or so. Therefore, the Parties

respectfully request that all deadlines stay suspended pending the signing of the

settlement agreement, expected to be signed by all parties on or before July 22, 2022,

at which point the settlement preliminary approval process for all related matters

will proceed in the Middle District of North Carolina under the pending matter

captioned Dugan v. Nationstar Mortgage LLC, Case No. 1:21-CV-00341-TDS-JEP.

      The Parties agree to file either a notice of settlement, dismissal, or another

joint status report with the Court by July 29, 2022, to advise the Court on the status

of settlement discussions and, if necessary, to request a reset of deadlines.

      The Parties expressly reserve all defenses as to all claims that have been or

might later be asserted in this action.

      THEREFORE, the Parties hereby request the Court maintain the current stay

of this action. The Parties will report back to the Court by July 29, 2022, on the

status of the case and, if necessary, to reset the current deadlines.



 Dated: July 15, 2022                          Respectfully submitted,

                                               /s/ Benjamin Cook
                                               Benjamin Cook (IL 6335723)
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                                        and the putative Illinois Subclass


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                          CERTIFICATE OF SERVICE
      I hereby certify that on July 15, 2022, I electronically filed the foregoing paper

with the Clerk of the court using the ECF system, which will send notification of

such filing to all counsel of record registered for electronic filing.



                                                /s/ Benjamin Cook
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